                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                            Criminal No. 15-329(JNE/KMM)

 UNITED STATES OF AMERICA,                )
                                          )
                      Plaintiff,          )      ORDER RE JUDICIAL REMOVAL OF
                                          )      DEFENDANT NEGAR GHODSKANI
        v.                                )
                                          )
 NEGAR GHODSKANI,                         )
                                          )
                      Defendant.          )


                                   ORDER OF REMOVAL

       Defendant NEGAR GHODSKANI (“the defendant”) and the United States have

jointly requested, agreed and stipulated, pursuant to Title 8, United States Code, Section

1228(c)(5), that the Court should enter a judicial order that the defendant be removed from

the United States to Iran. Pursuant to that stipulated request, the Court finds the following:

       a.     The defendant is not a citizen or national of the United States.

       b.     The defendant is a native and citizen of Iran.

       c.     On or about July 19, 2019, the defendant was allowed entry into the United

States to resolve the instant criminal judicial proceedings following her extradition from

Australia. Ms. Ghodskani does not have lawful status to remain in the United States once

her prosecution is completed.

       d.     On August 8, 2019, the defendant pleaded guilty pursuant to a Plea

Agreement and Sentencing Stipulations to Count 1 of the Indictment which charged the
defendant with Conspiracy to Defraud the United States, in violation of Title 18, United

States Code, Section 371.

       e.     The defendant has agreed to the entry of a stipulated judicial order of removal

pursuant to Title 8, United States Code, Sections 1228(c)(5) and 1182. Specifically, the

defendant has admitted she is not a citizen or national of the United States, but is a native

and citizen of Iran who is inadmissible to the United States.

       f.     The defendant has waived her right to notice and a hearing under the

Immigration and Nationality Act (“INA”), as amended, including Title 8, United States

Code, Section 1228(c)(2), and related federal regulations.

       g.     The defendant has waived the opportunity to pursue any and all forms of

relief and protection from removal, inadmissibility, deportation, or exclusion under the

INA, as amended, and related federal regulations.

       Therefore, IT IS ORDERED pursuant to Title 8, United States Code, Sections 1182

and 1228(c)(5) that the defendant be removed from the United States to Iran, promptly

upon her satisfaction of any sentence of imprisonment, or if the defendant is not sentenced

to a term of imprisonment, promptly upon her sentencing, and that the United States

Department of Homeland Security execute this ORDER of removal according to the

applicable laws and regulations of the United States.


Dated: August 15, 2019
                                          s/ Joan N. Ericksen
                                          JOAN N. ERICKSEN
                                          United States District Judge


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